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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                              8:13CR42

        vs.
                                                                                   ORDER
VIRGILIO ROMAN-CHAIDEZ,

                         Defendants.


This matter is before the court on defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
MOTIONS [31]. For good cause shown, I find that the motion should be granted. The defendant will be given
an approximate 62-day extension. Pretrial Motions shall be filed by May 20, 2013.


        IT IS ORDERED:


        1.       Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS [31]
is granted. Pretrial motions shall be filed on or before May 20, 2013.


        2.       The defendant is ordered to file a waiver of speedy trial as soon as practicable.


        3.       The ends of justice have been served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between March 19, 2013 and May 20, 2013, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 18th day of March, 2013.

                                                             BY THE COURT:

                                                             s/ F.A. Gossett, III
                                                             United States Magistrate Judge
